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                            UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION
                              __________________________


TODD COURSER,

               Plaintiff,

v.                                                          Case No. 1:16-CV-1108

KEITH ALLARD, et al.,                                       HON. GORDON J. QUIST

            Defendants.
_______________________/


                            ORDER DENYING HOUSE DEFENDANTS’
                              MOTION FOR RULE 11 SANCTIONS

       On September 8, 2016, Plaintiff, Todd Courser, is a former Michigan State Representative

who resigned his office in the midst of allegations of misconduct emanating from an extramarital

affair with another former Michigan State Representative. Courser later filed a voluminous

complaint (180 pages, 1001 paragraphs, including demands for relief) against the Michigan House

of Representatives and numerous individuals and entities, alleging a multitude of claims. Some

Defendants filed answers, some filed motions to dismiss and/or for summary judgment, and others

did not appear. Defendants Michigan House of Representatives, Kevin M. Cotter, Tim L. Bowlin,

Brock Swartzle, Edward McBroom, Andrea LaFontaine, Rob VerHeulen, Hassan Beydoun, and Kurt

Heise (the House Defendants), filed a motion to dismiss, as well as a motion for sanctions pursuant

to Federal Rule of Civil Procedure 11. On December 12, 2016, Courser filed a first amended

complaint, as well as a notice of voluntary dismissal pursuant to Federal Rule of Civil Procedure

41(a)(1)(A)(i). (ECF Nos. 121, 123.)

       On December 19, 2016, this Court entered an Order Regarding Voluntary Dismissal, in

which it analyzed the effect of the first amended complaint. (ECF No. 127.) The Court noted that
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the first amended complaint dropped some Defendants, and concluded that the voluntary dismissal

mooted the pending motions to dismiss and dismissed all claims against the remaining Defendants

without prejudice, except for one Defendant who had filed a motion for summary judgment, as to

whom the Court concluded dismissal was with prejudice. The Court also noted that Courser’s

voluntary dismissal did not moot the House Defendants’ motion for sanctions.

       Rule 11(b) bars an attorney or an unrepresented party from presenting to the court a pleading

or other paper: (1) “for any improper purpose, such as to harass, cause unnecessary delay, or

needlessly increase the cost of litigation”; (2) that is not “warranted by existing law or by a

nonfrivolous argument for extending, modifying, or reversing existing law or for establishing new

law”; and (3) that contains “factual contentions [or denials lacking] evidentiary support” or “will

not likely have evidentiary support after a reasonable opportunity for further investigation or

discovery.” Fed. R. Civ. P. 11(b)(1)–(4). Upon finding that Rule 11 has been violated, “the court

may impose an appropriate sanction on any attorney, law firm, or party that violated the rule or is

responsible for the violation.” Fed. R. Civ. P. 11(c)(1).

       Rule 11 sanctions are intended to deter parties from abusing the legal process. Meritt v. Int’l

Ass’n of Machinists & Aerospace Workers, 613 F.3d 609, 626 (6th Cir. 2010) (citing Heron v.

Jupiter Transp. Co., 858 F.2d 332, 335 (6th Cir. 1998)). In the Sixth Circuit, the test for

determining whether a party has violated Rule 11 is whether the individual's conduct was reasonable

under the circumstances. See Ridder v. City of Springfield, 109 F.3d 288, 293 (6th Cir. 1997). The

standard is an objective one. See Jackson v. Law Firm of O’Hara, Ruberg, Osborne & Taylor, 875

F.2d 1224, 1229 (6th Cir. 1989). “Thus, an attorney’s good faith is not a defense.” Id. The

attorney’s conduct is to be judged at the time the pleading or paper was signed rather than on the

basis of hindsight. See INVST Fin. Grp., Inc. v. Chem-Nuclear Sys., Inc., 815 F.2d 391, 401 (6th

Cir. 1987).

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       Having reviewed the parties’ briefs and exhibits, the original complaint, and pertinent legal

authority, and considering the circumstances of the case, the Court is not persuaded that Courser and

his counsel violated Rule 11 or, if a violation occurred, that an award of sanctions is appropriate.

First, the Court is not convinced that the circumstances warrant sanctions. It appears that after

receiving the House Defendants’ November 1, 2016, Rule 11 Notice, Courser’s counsel informed

the House Defendants’ counsel that he was preparing an amended complaint to file as of right

pursuant to Rule 15 and would address the concerns raised in the House Defendants’ Rule 11 Notice

through the amended complaint, which he planned to file after receipt of other Defendants’ answers

and/or Rule 12(b)(6) motions. (ECF No. 134-1 at PageID.4651.) In the Court’s judgment, it was

reasonable for Courser’s counsel not to withdraw the complaint within the 21-day safe harbor

period, see Fed. R. Civ. P. 11(c)(2), because he was waiting for all Defendants to respond before

filing his one permitted amendment as of right to address the House Defendants’ concerns and any

deficiencies that other Defendants might raise in motions to dismiss.

       Second, and more importantly, the Court is not convinced that Courser’s claims that the

House Defendants discuss in their motion lacked the requisite factual or legal support (or at least

arguable legal support) required by Rule 11(b)(2) and (3). Without addressing every claim, the

Court will cite a few examples. First, regarding Courser’s due process claim, the House Defendants

argue that Courser’s claim was baseless because Courser resigned and, therefore, cannot show that

he was deprived of a liberty or property interest. This argument fails to acknowledge that Courser

alleged that he was constructively expelled from his office by the House Defendants’ violations of

his due process rights. (ECF No. 1 at PageID.10, 11, 27.) Whether such a claim would have

ultimately succeeded may never be known, but nothing indicates that it lacked a factual basis or that

Courser’s counsel unreasonably asserted it in the face of existing case law. Second, regarding the


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Fourth Amendment claim—in particular, the seizure of Courser’s House-issued computer—the

House Defendants argue that Courser had no standing to assert a Fourth Amendment claim because

he lacked a legitimate expectation of privacy in the computer. The House Defendants based this

argument on language in the House Equipment and Loan Form and Policies, which states that

members and staff have no expectation of privacy in electronic mail or instant messaging

transmissions. (ECF No. 93-11.) However, Courser’s claim was not based solely on the House-

issued computer, but on all electronic devices seized from his office. (ECF No. 1 at PageID.84,

124.) Moreover, as Courser notes, the form the House Defendants submitted in support of their Rule

11 motion was not signed by Courser. Third, as for Courser’s claim that M.C.L. § 750.505 is

unconstitutionally vague, the cases the House Defendants cite do not necessarily render Courser’s

claim frivolous. Courser’s claim was that the statute was vague as applied to him because violation

of a House Rule was not an indictable offense at common law. Courser alleged that the statute was

vague because no House member had ever been criminally charged with misconduct in office based

on violation of a House rule. (Id. at PageID.132.) Finally, regarding the promissory estoppel claim,

the House Defendants do not argue that Courser failed to allege the elements of such a claim.

Rather, they argue that the email Beydoun sent to Courser’s counsel two days before Courser

testified before the Select Committee shows that Courser knew that Beydoun could not promise that

Courser would only be censured. (ECF No. 93-12.) However, Courser presented evidence that his

counsel had discussions with Beydoun about a censure before Courser testified before the Select

Committee, providing at least some factual basis for his claim that he would not have made

statements before the committee without a promise of only a censure. (ECF No. 134-20 at

PageID.4850–51.)




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       To make it clear, the Court is not concluding that any claim asserted by Courser would

ultimately have been found to be valid. But, based upon the foregoing rationale, the Court

concludes that Courser and his counsel did not violate Rule 11.

       Therefore,

       IT IS HEREBY ORDERED that the House Defendants’ Motion for Rule 11 Sanctions

(ECF No. 92) is DENIED.


Dated: September 27, 2017                                 /s/ Gordon J. Quist
                                                         GORDON J. QUIST
                                                    UNITED STATES DISTRICT JUDGE




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